       Case 3:11-cr-01448-MMA                        Document 1722              Filed 08/06/14             PageID.6476              Page 1 of
J..- ~_                                                                     2
    ~o 245D (CASD) (Rev 4/14) Judgment in a Criminal Case for Revocations

               Sheet 1




                                           UNITED STATES DISTRICT COURT                                                         /4 I,~!,-Oc
                                                                                                                                   1!1Jl'   PH,
                                                                                                                                       -     n 2: Il,


                   UNITED STATES OF AMERICA
                                                 SOUTHERN DISTRICT OF CALIFORNIA

                                                                                JUDGMENT IN A CRIMINAL CASE
                                                                                                                          0;'                           ''''Jr-. -..­
                                                                                                                                                    ~,!r:-'-<'-~;i i."


                                      v.                                        (For Revocation of Probation or Supervised Release)
                                                                                                                                                    [)[;'lj Tv
           CHRISTOPHER MICHAEL FOREMAN (19)                                     (For Offenses Committed On or After November 1, 1987)


                                                                                Case Number: llCRI448 MMA

                                                                                KAREN M. STEVENS
                                                                                Defendant's Attorney
    REGISTRATION No. 26172298
o   TIlE DEFENDANT:
    [£] admitted guilt to violation of allegation(s) No.,_I_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     o   was found in violation of allegation(s) No.                                                   after denial of guilt.
    ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s):


    Allegation Number                   Nature of Violation
                            Failure to complete punitive RRC (Residential Reentry Center) placement




      Supervised Release       is revoked and the defendant is sentenced as provided in pages 2 through                  2       ofthis judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notify the court and Untted States Attorney of any material change in the
    defendant's economic circumstances.




                                                                                HON. MICHAEL M. ANELLO
                                                                                UNITED STATES DISTRICT JUDGE




                                                                                                                                    IICRl448 MMA
         Case 3:11-cr-01448-MMA                          Document 1722              Filed 08/06/14     PageID.6477           Page 2 of
, AD 245b (CASD) (Rev, 4i14) Judgment in a Criminal Case for Revocations       2
             Sheet 2 Imprisonment

                                                                                                      Judgment - Page   2     of     2
   DEFENDANT: CHRISTOPHER MICHAEL FOREMAN (19)
   CASE NUMBER: llCR1448 MMA
                                                                    IMPRISONMENT
           The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
            EIGHT (8) MONTHS




      o The court makes the following recommendations to the Bureau of Prisons:


       o The defendant is remanded to the custody of the United States Marshal.
       o The defendant shall surrender to the United States Marshal for this district:
              Oat                                       Oa.m.          Op.m.       on _ _ _ _ _ _ _ _ _ _ __
                  as notified by the United States Marshal.

       o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before -----------------------------------------------------------------
             o as notified by the United States Marshal.
             o as notified by the Probation or Pretrial Services Office.
                                                                           RETURN

   I have executed this judgment as follows:

           Defendant delivered on                                                          to

   at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                                     UNITED STATES MARSHAL

                                                                               By
                                                                                                DEPUTY UNITED STATES MARSHAL




                                                                                                                             IICRl448 MMA
